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                       UNITED STATES COURT OF APPEALS                                FILED
                                                                                      MAR 2 2020
                               FOR THE NINTH CIRCUIT
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                              No. 19-10435

                   Plaintiff-Appellee,                 D.C. No. 1: l 7-cr-00101-LEK-l
                                                       District of Hawaii,
  v.                                                   Honolulu

ANTHONY T. WILLIAMS,                                   ORDER

                   Defendant-Appellant.


       On December 24, 2019, and January 30, 2020, this court ordered appellant,

within 21 days, to move for voluntary dismissal of the appeal or show cause why

the appeal should not be dismissed for lack of an appealable order.

       Appellant was warned that failure to comply with the court's orders would

result in the automatic dismissal of the appeal by the Clerk for failure to prosecute.

To date, appellant has not complied with the court's orders. Accordingly, this

appeal is dismissed for failure to prosecute. See 9th Cir. R. 42-1 ; 9th Cir. Gen.

Order 2.3.

       This order served on the district court will, 21 days after the date of the

order, act as the mandate of this court.




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                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT


                                                   By: Katherine Henderson
                                                   Deputy Clerk
                                                   N inth Circuit Rule 27-7




                                           2
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